Case 3:18-cr-04781-MDD-BAS Document 113 Filed 10/13/22 PageID.851 Page 1 of 7




 1

 2

 3

 4

 5

 6

 7

 8

 9

10                        UNITED STATES DISTRICT COURT
11                     SOUTHERN DISTRICT OF CALIFORNIA
12
          UNITED STATES OF AMERICA,                Case No. 18-cr-4781-MDD-BAS
13
                                    Plaintiff,     JUDGEMENT AND ORDER
14                                                 GRANTING THE
                                                   GOVERNMENT’S MOTION TO
15            v.                                   DISMISS COMPLAINT
                                                   WITHOUT PREJUDICE
16        JOSE LUIS NUNEZ-SOBERANIS,               (ECF No. 106)
17                                Defendant.
18

19   I.      Background
20           On November 7, 2018, the Government filed an Indictment charging Mr.
21   Nunez-Soberanis with being a “removed alien found in the United States” in violation
22   of 8 U.S.C. § 1326(a). (ECF No. 12.) The Defense moved to dismiss the indictment,
23   arguing that due process rules were violated during Mr. Nunez-Soberanis’s prior
24   expedited removal hearing. (ECF No. 27.) After an evidentiary hearing, the Court
25   agreed that due process rules were violated, but ordered additional briefing on the
26   remaining issue of prejudice. (ECF No. 36.) In response, the Government filed a
27   superseding misdemeanor information, charging Mr. Nunez-Soberanis with
28   improper entry by an alien in violation of 8 U.S.C. § 1325(a)(1), dropping all

                                             –1–                                  18cr4781
Case 3:18-cr-04781-MDD-BAS Document 113 Filed 10/13/22 PageID.852 Page 2 of 7




 1   reference to the prior removal proceedings. (ECF No. 45.) The Defense filed a
 2   motion to dismiss this superseding information, arguing that the information failed
 3   to allege all of the elements required for § 1325(a)(1). (ECF No. 47.) After the Court
 4   ordered briefing on this issue, the Government filed a second superseding
 5   information, adding the missing elements to the information. (ECF No. 60.)
 6         The district court referred the now-misdemeanor case to a Magistrate Judge
 7   for a bench trial. At the bench trial, Border Patrol Agent Munoz testified that on “a
 8   rural, mountainous area, with a lot of brush,” one mile north of the U.S./Mexico
 9   border and eight miles from the nearest Port of Entry, the Agent located Mr. Nunez-
10   Soberanis after following his footprints north, hiding on his stomach under the brush.
11   The Agent had to pull Mr. Nunez-Soberanis and several other individuals out from
12   underneath the brush. In response to questioning, Defendant admitted he was a
13   citizen of Mexico with no legal papers to be in the United States.
14         The Magistrate Judge allowed the Government to elicit the fact that the Agent
15   was responding to a seismic intrusion device, despite a hearsay objection, finding
16   that the information was not being admitted for the truth of the matter, but to explain
17   why the Agent was in this rugged, difficult-to-navigate area.
18         Over the Defense’s objection that there was insufficient corpus delicti to
19   support Mr. Nunez-Soberanis’s confession, the Magistrate Judge found: (1) the trail
20   was in a remote area; (2) there was a seismic intrusion device triggered roughly one
21   mile north of the border; and (3) Mr. Nunez-Soberanis’s footprints were leading
22   north, suggesting that he had triggered the device. The Magistrate Judge found “that
23   evidence barely sufficient for the intended purpose” but found the Government had
24   proved the case against Mr. Nunez-Soberanis beyond a reasonable doubt. (ECF No.
25   89.) Immediately following the trial on September 27, 2019, the Magistrate Judge
26   sentenced Mr. Nunez-Soberanis to time served, after which he was removed from the
27   United States. (ECF No. 84.)
28


                                              –2–                                    18cr4781
Case 3:18-cr-04781-MDD-BAS Document 113 Filed 10/13/22 PageID.853 Page 3 of 7




 1         The Defense appealed the conviction to the district court, again raising the
 2   issues of the hearsay objection to the seismic intrusion device and the evidence
 3   supporting Mr. Nunez-Soberanis’s guilt other than his confession. (ECF No. 93.)
 4   The Government responded to the appeal and argued that Agent Munoz’s testimony
 5   was not hearsay and other admitted evidence demonstrated Mr. Nunez-Soberanis’s
 6   guilt beyond a reasonable doubt. (ECF No. 94.) The District Court agreed, finding
 7   that “even without the evidence of the seismic intrusion device, there is sufficient
 8   evidence that Defendant’s admission that he had illegally entered the United States
 9   was not a false admission.” (ECF No. 97.)
10         The Defense appealed to the Ninth Circuit. After a briefing schedule was
11   issued, inexplicably, the Government moved the appellate court for summary vacatur
12   and asked the court to remand the case to the district court for retrial.        The
13   Government now concluded that “the agent’s testimony about what the dispatcher
14   told him about the seismic intrusion device was hearsay,” and that this hearsay
15   affected the verdict “both because the magistrate explicitly relied on it and because
16   the magistrate judge said that even with the seismic intrusion device, the evidence
17   was ‘barely sufficient.’” (9th Cir. Case No. 20-50259, ECF No. 20.) As the motion
18   was unopposed, the appellate court granted the motion and remanded the case for
19   retrial. (ECF No. 105.)
20         Instead of requesting a retrial, the Government moved to dismiss without
21   prejudice, arguing that the Government is “electing to not allocate additional
22   resources to the prosecution of the criminal offense.” (ECF No. 106.) The Defense
23   responded arguing: (1) the Magistrate Judge should determine the issue, (2) the case
24   should be dismissed with prejudice; and (3) Mr. Nunez-Soberanis should be paroled
25   back into the country for two days to attend a hearing scheduled by the Court. (ECF
26   No. 111.)
27

28


                                             –3–                                   18cr4781
Case 3:18-cr-04781-MDD-BAS Document 113 Filed 10/13/22 PageID.854 Page 4 of 7




 1   II.   Analysis
 2         A.     Venue Before District Judge
 3         As a preliminary matter, the Defense argues that venue in this case is properly
 4   before the Magistrate Judge, not the undersigned District Judge. The Court disagrees.
 5   “The district court may order that proceedings in any misdemeanor case be conducted
 6   before a district judge rather than a United States magistrate judge upon the court's
 7   own motion.” 18 U.S.C. § 3401(f). The Court so orders in this case.
 8         B.     Paroling Defendant into the United States for Hearing
 9         Additionally, the Defense argues that the Court may not proceed in the absence
10   of a hearing and in the absence of Mr. Nunez-Soberanis. Defense requests that the
11   Court order the Government to parole Mr. Nunez-Soberanis back into the United
12   States from Mexico for two days to prepare for the hearing.
13         A defendant has a constitutional right to be present at every “critical stage” of
14   the trial. United States v. Marks, 530 F.3d 799, 813 (9th Cir. 2008); see also United
15   States v. Rosales-Rodriguez, 289 F.3d 1106, 1110 (9th Cir. 2002) (“The Constitution
16   does not guarantee that a criminal defendant be present at all stages of the trial, but
17   rather, only at critical stages.” (internal quotation marks omitted)). This “privilege
18   of presence is not guaranteed when presence would be useless or the benefit but a
19   shadow.” Id. (quoting Kentucky v. Stincer, 482 U.S. 730, 745 (1987)). The court
20   should “examine any possible violation of the right in light of the whole record.” Id.
21   Statutorily, “[a] defendant need not be present . . . [when] [t]he proceeding involves
22   only a . . . hearing on a question of law.” Fed. R. Crim. P. 43(b)(3).
23         The Government’s motion to dismiss an indictment under Rule 48(a) is just
24   such a proceeding. It involves only a question of law, and this matter is not a critical
25   stage requiring a hearing or that Defendant be produced for the hearing. Although
26   the Court certainly understands why Mr. Nunez-Soberanis would like a few days
27   back in the United States to visit with his family on this side of the border, because
28


                                               –4–                                    18cr4781
Case 3:18-cr-04781-MDD-BAS Document 113 Filed 10/13/22 PageID.855 Page 5 of 7




 1   his presence is not required constitutionally or statutorily, the Court denies the
 2   Defense’s request for a hearing and production of Defendant from Mexico.
 3          C.     Dismissal Without Prejudice
 4          Finally, the Defense objects to the Government’s motion to dismiss without
 5   prejudice.1 Rule 48(a) of the Federal Rules of Criminal Procedure allows the
 6   Government to dismiss charges, but only with leave of court. “Because of the
 7   concern that prosecutors were abusing [their] discretion and harassing defendants by
 8   indicting, dismissing, and reindicting without triggering the protections of the double
 9   jeopardy clause,” the rule requires leave of court “to provide a check on prosecutorial
10   behavior.” United States v. Hayden, 860 F.2d 1483, 1487 (9th Cir. 1988). However,
11   “Rule 48(a) was not enacted for the purpose of usurping the traditional role of the
12   prosecutor to determine whether to terminate a pending prosecution.” Id. “The
13   Executive remains the absolute judge of whether a prosecution should be initiated
14   and the first and presumptively best judge of whether a pending prosecution should
15   be terminated.” United States v. Salinas, 693 F.2d 348, 351 (5th Cir. 1982) (quoting
16   United States v. Cowan, 524 F.2d 504, 513 (5th Cir. 1975)).
17   “A fundamental consideration in assessing the propriety of a prosecutor’s Rule 48(a)
18   dismissal motion is whether the motion is made in good faith.” Hayden, 860 F.2d at
19   1487 (citing United States v. Wallace, 848 F.2d 1464, 1468 (9th Cir. 1988)). “If the
20   district court finds that the prosecutor is acting in good faith in making its Rule 48(a)
21   motion,” it must grant the motion. Id. Conversely, the Court may exercise it
22   discretion and deny the motion only if “it specifically determines that the government
23   is operating in bad faith.” Id.
24   //
25   //
26   //
27

28          1
               The Defense does not object to the Government’s motion to dismiss but requests that it
     be with prejudice.
                                                   –5–                                        18cr4781
Case 3:18-cr-04781-MDD-BAS Document 113 Filed 10/13/22 PageID.856 Page 6 of 7




 1          In this case the Government has outlined its reasons for dismissal:
 2

 3          The United States is simply electing to not allocate additional resources
            to the prosecution of the criminal offense that defendant admitted to
 4          committing—a new trial would require at a minimum testimony of two
 5          to three agents that would otherwise be in the field and at least another
            hour of the Court’s time, all drawing on both the Executive and the
 6          Judiciary’s limited resources. Additionally, at the conclusion of the
 7          prior trial, the magistrate judge sentenced Defendant to time served and
            did not impose a fine, and it appears Defendant was removed from the
 8          United States and has not yet returned—all of which suggests that the
 9          now vacated criminal conviction and sentence served a deterrent effect
            and casts doubt on the value of a new trial at this time.
10

11   (ECF No. 106.)
12          Given these stated reasons, the Court cannot find the Government’s motion to
13   dismiss is made in bad faith. The Executive is in the best position to determine how
14   its resources should be allotted. Given that Mr. Nunez-Soberanis has been removed
15   from the United States, and that bringing him back from Mexico for a new trial would
16   likely result in the same time served sentence and removal, the Court agrees the
17   Government’s decision not to allocate additional resources to this prosecution is
18   reasonable. However, if Mr. Nunez-Soberanis returns illegally to the United States,
19   the Government may decide use of its resources would be well served in reinstituting
20   criminal proceedings. Therefore, the Court finds the prosecution is acting in good
21   faith in moving to dismiss the charges without prejudice, and the Court grants the
22   motion.
23   III.   CONCLUSION
24          For the reasons stated above, the Court:
25          (1)   Finds venue is properly before the undersigned District Judge;
26          (2)   DENIES Defendant’s request to be paroled back into the United States
27                for a hearing on the issue; and
28


                                              –6–                                       18cr4781
Case 3:18-cr-04781-MDD-BAS Document 113 Filed 10/13/22 PageID.857 Page 7 of 7




 1         (3)   GRANTS the Government’s Motion to Dismiss the charges without
 2               prejudice (ECF No. 106).
 3        IT IS SO ORDERED.
 4

 5   DATED: October 12, 2022
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


                                            –7–                           18cr4781
